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                             UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TEXAS
                                  BEAUMONT DIVISION


UNITED STATES OF AMERICA                          §
                                                  §
                                                  §
VS.                                               §   CASE NO. 1:11-CR-5(2)
                                                  §
                                                  §
JOHN PHIL FITZGERALD                              §

            FINDINGS OF FACT AND RECOMMENDATION ON GUILTY PLEA
                 BEFORE THE UNITED STATES MAGISTRATE JUDGE

          By order of the District Court, this matter was referred to the undersigned United States

Magistrate Judge for administration of a guilty plea and allocution under Rules 11 and 32 of the

Federal Rules of Criminal Procedure. Magistrate judges have the statutory authority to conduct

a felony guilty plea proceeding as an “additional duty” pursuant to 28 U.S.C. § 636(b)(3).

United States v. Bolivar-Munoz, 313 F.3d 253, 255 (5th Cir. 2002), cert. denied, 123 S. Ct. 1642

(2003).

          On October 19, 2011, this cause came before the undersigned United States Magistrate

Judge for entry of a guilty plea by the defendant, John “Phil” Fitzgerald, on Count Twenty-

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Four of the charging Second Superseding Indictment filed in this cause. Count Twenty-Four

of the Second Superseding Indictment charges that on or about May 21, 2009, in the Eastern

District of Texas, and elsewhere, John “Phil” Fitzgerald, defendant, knowingly made a false and

fraudulent claim against and upon FEMA, an agency of the United States, for Hurricane Ike

disaster assistance, knowing that the claim was false, fictitious, and fraudulent in that it falsely

represented that Liberty County was entitled to reimbursement from FEMA from the cost of fuel

for the use of a 51 KW John Deere generator between the dates of September 16, 2008, through

September 20, 2008, when in truth and fact, as defendant well knew, that the 51 KW John Deere

generator was not being used by Liberty County during that time period, in violation of 18

U.S.C. § 287.

       Defendant, John “Phil” Fitzerald, entered a plea of guilty to Count Twenty-Four of the

Second Superseding Indictment into the record at the hearing.

       After conducting the proceeding in the form and manner prescribed by Federal Rule of

Criminal Procedure 11 the Court finds:

       a.       That Defendant, after consultation with counsel of record, has knowingly, freely

and voluntarily consented to the administration of the guilty plea in this cause by a United States

Magistrate Judge in the Eastern District of Texas subject to a final approval and imposition of

sentence by the District Court.

       b.       That Defendant and the Government have entered into a plea agreement which

was disclosed and addressed in open court, entered into the record, and placed under seal.

       c.       That Defendant is fully competent and capable of entering an informed plea, that



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Defendant is aware of the nature of the charges and the consequences of the plea, and that the

plea of guilty is a knowing, voluntary and freely made plea. Upon addressing the Defendant

personally in open court, the Court determines that Defendant’s plea is voluntary and did not

result from force, threats or promises. See FED . R. CRIM . P. 11(b)(2).

         d.     That Defendant’s knowing, voluntary and freely made plea is supported by an

independent factual basis establishing each of the essential elements of the offense and Defendant

realizes that his conduct falls within the definition of the crimes charged under 18 U.S.C. § 287.

                                  STATEMENT OF REASONS

         As factual support for the defendant’s guilty plea, the Government presented a factual

basis.   See Factual Basis and Stipulation.       In support, the Government would prove that

Defendant, John “Phil” Fitzgerald, is one and the same person charged in the Second Superseding

Indictment and that the events described in the Second Superseding Indictment occurred in the

Eastern District of Texas and elsewhere. The Government would also have proven, beyond a

reasonable doubt, each and every essential element of the offense alleged in Count Twenty-Four

of the Second Superseding Indictment through the testimony of witnesses, including expert

witnesses, and admissible exhibits. In support of the defendant’s plea, the Court incorporates the

proffer of evidence described in detail in the factual basis, filed in support of the plea agreement.

         Defendant, John “Phil” Fitzgerald, agreed with and stipulated to the evidence presented in

the factual basis. Counsel for Defendant and the Government attested to Defendant’s competency

and capability to enter an informed plea of guilty. The defendant agreed with the evidence

presented by the Government and personally testified that he was entering his guilty plea



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knowingly, freely and voluntarily.

                                       RECOMMENDED DISPOSITION

         IT IS THEREFORE the recommendation of the undersigned United States Magistrate

Judge that the District Court accept the Guilty Plea of the defendant which the undersigned

determines to be supported by an independent factual basis establishing each of the essential

elements of the offense charged in Count Twenty-Four of the charging Second Superseding

Indictment on file in this criminal proceeding. The Court also recommends that the District

Court accept the plea agreement.1 Accordingly, it is further recommended that, Defendant, John

“Phil” Fitzgerald, be finally adjudged as guilty of the charged offense under Title 18, United

States Code, Section 287.

         Defendant is ordered to report to the United States Probation Department for the

preparation of a presentence report. At the plea hearing, the Court admonished the defendant that

the District Court may reject the plea and that the District Court can decline to sentence

Defendant in accordance with the plea agreement, the federal sentencing guidelines and/or the

presentence report because the sentencing guidelines are advisory in nature. The District Court

         1
           “(3) Judicial Consideration of a Plea Agreement.
(A) To the extent the plea agreement is of the type specified in Rule 11(c)(1)(A) or (C), the court may accept the
agreement, reject it, or defer a decision until the court has reviewed the presentence report.
(B) To the extent the plea agreement is of the type specified in Rule 11(c)(1)(B), the court must advise the defendant
that the defendant has no right to withdraw the plea if the court does not follow the recommendation or request.
(4) Accepting a Plea Agreement. If the court accepts the plea agreement, it must inform the defendant that to the extent
the plea agreement is of the type specified in Rule 11(c)(1)(A) or (C), the agreed disposition will be included in the judgment.
(5) Rejecting a Plea Agreement. If the court rejects a plea agreement containing provisions of the type specified in Rule
11(c)(1)(A) or (C), the court must do the following on the record and in open court (or, for good cause, in camera):
(A) inform the parties that the court rejects the plea agreement;
(B) advise the defendant personally that the court is not required to follow the plea agreement and give the defendant
an opportunity to withdraw the plea; and
(C) advise the defendant personally that if the plea is not withdrawn, the court may dispose of the case less favorably
toward the defendant than the plea agreement contemplated.” F ED . C RIM . P. 11(c)(3)-(5).


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may defer its decision to accept or reject the plea agreement until there has been an opportunity to

consider the presentence report. See FED . R. CRIM . P. 11(c)(3). If the Court rejects the plea

agreement, the Court will advise Defendant in open court that it is not bound by the plea

agreement and Defendant may have the opportunity to withdraw the guilty plea, dependent upon

the type of the plea agreement. See FED . R. CRIM . P. 11(c)(3)(B). If the plea agreement is rejected

and Defendant still persists in the guilty plea, the disposition of the case may be less favorable to

Defendant than that contemplated by the plea agreement. Defendant has the right to allocute

before the District Court before imposition of sentence.

                                          OBJECTIONS

       Objections must be: (1) specific, (2) in writing, and (3) served and filed within fourteen

(14) days after being served with a copy of this report. See 28 U.S.C. § 636(b)(1). A party’s

failure to object bars that party from: (1) entitlement to de novo review by a district judge of

proposed findings and recommendations, see Rodriguez v. Bowen, 857 F.2d 275, 276-77 (5th Cir.

1988), and (2) appellate review, except on grounds of plain error of unobjected-to factual findings

and legal conclusions accepted by the district court, see Douglass v. United Servs. Auto. Ass’n.,

79 F.3d 1415, 1417 (5th Cir. 1996) (en banc).

       The constitutional safeguards afforded by Congress and the courts require that, when a

party takes advantage of his right to object to a magistrate’s findings or recommendation, a

district judge must exercise its nondelegable authority by considering the actual evidence and not

merely by reviewing and blindly adopting the magistrate’s report and recommendation. See

Hernandez v. Estelle, 711 F.2d 619, 620 (5th Cir. 1983); United States v. Elsoffer, 644 F.2d 357,



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359 (5th Cir. 1981) (per curiam).


                SIGNED this the 24th day of October, 2011.




                                              ____________________________________
                                              KEITH F. GIBLIN
                                              UNITED STATES MAGISTRATE JUDGE




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